                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


GAINES PHOTOGRAPHY, LLC,                           )
                                                   )
                          Plaintiff,               )
                                                   )
v.                                                 )         Case No. 6:18-cv-03357-MDH
                                                   )
BABE RUTH LEAGUE, INC, ET AL.,                     )
                                                   )
                          Defendants.              )

                                                 ORDER

Pursuant to the hearing held on October 19, 2020, the Court hereby ORDERS as follows:

           It is ORDERED that counsel for Ballparks of Branson, LLC, forward an electronic

transcript of the deposition of Hamilton Chang to the Court via mary_maerz@mow.uscourts.gov

so that the Court can review the deposition for alleged delaying tactics.

           It is further ORDERED that Babe Ruth League, Inc. produce any and all contracting and

licensing agreements for photography services for baseball and softball world series for years

2014, 2015, 2016, and 2017. Contracts and licensing agreements taking place in any other year

need not be produced.

           It is further ORDERED that counsel for Babe Ruth League, Inc., provide to the Court via

mary_maerz@mow.uscourts.gov an electronic transcript of the deposition of Steven Tellefson so

that the Court can review the circumstances of counsel’s instructions not to answer questions.

           Additionally, the Court finds that:

           Tom Buchanan is legal counsel for Plaintiff and his communications with Plaintiff,

including before his entry of appearance, are privileged. Mr. Buchanan is thus not allowed to

testify.



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       Mark Keegan has not properly been disclosed as an expert witness in this case and thus he

will not be allowed to testify. Mr. Keegan’s communications with Plaintiff are protected as

communications with a consulting expert. If, however, any part of Plaintiff’s damage calculation

testimony is based on information supplied by Mr. Keegan or calculations performed by Mr.

Keegan, such information will be subject to possible exclusion as hearsay, or testimony lacking

personal knowledge and thus lacking adequate foundation.

       The Offer of Judgment shall be deleted as prematurely filed and when appropriate should

be re-filed under seal for which leave is granted.


IT IS SO ORDERED.

Dated: October 19, 2020                                     /s/ Douglas Harpool______
                                                           DOUGLAS HARPOOL
                                                           United States District Judge




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